                                           Case:18-00302-swd                                   Doc #:10 Filed: 02/04/18                         Page 1 of 9

   Fill in this information to identify your case:                                                                                                Check the appropriate box as directed in
                                                                                                                                                  lines 40 or 42: 

  Debtor 1           SABRINA MICHELE HEDIN
                     _________________________________________________________________                                                            According to the calculations required by
                      First Name                             Middle Name                          Last Name
                                                                                                                                                  this Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                             Middle Name                          Last Name                                       ✔ 1. There is no presumption of abuse.
                                                                                                                                                  
                                          Western District
  United States Bankruptcy Court for the: __________ DistrictofofMichigan
                                                                  __________                                                                          2. There is a presumption of abuse.

  Case number         18 - 00302 - swd
                      ___________________________________________
   (If known)
                                                                                                                                                   Check if this is an amended filing



Official Form 122A–2
Chapter 7 Means Test Calculation                                                                                                                                                          04/16

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. ............................................................... Copy line 11 from Official Form 122A-1 here ...........                      3,234.00
                                                                                                                                                                                      $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

        No. Fill in $0 for the total on line 3.
        Yes. Is your spouse filing with you?

         
         ✔       No. Go to line 3.
                Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT
    regularly used for the household expenses of you or your dependents?

    
    ✔ No. Fill in 0 for the total on line 3.
    Yes. Fill in the information below:

                State each purpose for which the income was used                                                       Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support                            are subtracting from
                people other than you or your dependents                                                               your spouse’s income


            ___________________________________________________                                                                    0.00
                                                                                                                         $______________


            ___________________________________________________                                                                    0.00
                                                                                                                         $______________

            ___________________________________________________                                                                    0.00
                                                                                                                       + $______________
            Total. .................................................................................................               0.00
                                                                                                                         $______________
                                                                                                                                                Copy total here ...............    ─ $_________0.00


4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                        3,234.00
                                                                                                                                                                                     $_________




Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                 page 1
                                     Case:18-00302-swd                               Doc #:10 Filed: 02/04/18                                 Page 2 of 9
Debtor 1        SABRINA     MICHELE HEDIN
                _______________________________________________________                                                                                 18 - 00302 - swd
                                                                                                                                 Case number (if known)_____________________________________
                First Name          Middle Name               Last Name




Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.                                                                                                                      1


   National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.
                                                                                                                                                                                   639.00
                                                                                                                                                                                $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are
      under 65 and people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                             49.00
                                                                                      $____________


       7b.    Number of people who are under 65
                                                                                            1
                                                                                      X ______

       7c.    Subtotal. Multiply line 7a by line 7b.                                         49.00
                                                                                      $____________              Copy here                    49.00
                                                                                                                                        $___________




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person
                                                                                              0.00
                                                                                      $____________

       7e.    Number of people who are 65 or older                                          0
                                                                                      X ______


       7f.    Subtotal. Multiply line 7d by line 7e.                                          0.00
                                                                                      $____________              Copy here
                                                                                                                                     + $___________
                                                                                                                                               0.00


       7g.    Total. Add lines 7c and 7f......................................................................................                49.00
                                                                                                                                        $___________        Copy total here         49.00
                                                                                                                                                                                $________




Official Form 122A–2                                                         Chapter 7 Means Test Calculation                                                                    page 2
                                      Case:18-00302-swd                             Doc #:10 Filed: 02/04/18                                 Page 3 of 9
Debtor 1         SABRINA     MICHELE HEDIN
                 _______________________________________________________                                                                          18 - 00302 - swd
                                                                                                                           Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name




   Local Standards                 You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses. ........................................................................               $____________


   9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount listed
              for your county for mortgage or rent expenses. ......................................................................
                                                                                                                                                  1,319.00
                                                                                                                                               $___________


           9b. Total average monthly payment for all mortgages and other debts secured by your home.



              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.

                Name of the creditor                                                               Average monthly
                                                                                                   payment

                ___________________________________                                                         0.00
                                                                                                    $____________

                ___________________________________                                                        0.00
                                                                                                    $____________


                ___________________________________ +                                                      0.00
                                                                                                    $____________

                                                                                                                               Copy                           Repeat this
                                             Total average monthly payment                                  0.00
                                                                                                    $____________
                                                                                                                               here
                                                                                                                                             ─ $___________
                                                                                                                                                       0.00   amount on
                                                                                                                                                              line 33a.


       9c.     Net mortgage or rent expense.
                                                                                                                                                  1,319.00    Copy         1,319.00
                                                                                                                                                                        $___________
               Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                      $___________
               rent expense). If this amount is less than $0, enter $0. ..................................................................                    here




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                             $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

           Explain       _________________________________________________________________
           why:
                         _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        0. Go to line 14.
       ✔ 1. Go to line 12.
       
       2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                                   203.00
                                                                                                                                                                        $___________




Official Form 122A–2                                                       Chapter 7 Means Test Calculation                                                                 page 3
                                    Case:18-00302-swd                       Doc #:10 Filed: 02/04/18                            Page 4 of 9
Debtor 1       SABRINA     MICHELE HEDIN
               _______________________________________________________                                                                 18 - 00302 - swd
                                                                                                                Case number (if known)_____________________________________
               First Name         Middle Name           Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:    2006 CHEVY TRAILBLAZER
                                                   _______________________________________________________________
                                                   _______________________________________________________________


       13a. Ownership or leasing costs using IRS Local Standard. ...................................................                  485.00
                                                                                                                                 $___________

       13b.    Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
              To calculate the average monthly payment here and on line 13e, add all
              amounts that are contractually due to each secured creditor in the 60 months
              after you filed for bankruptcy. Then divide by 60.

                    Name of each creditor for Vehicle 1                        Average monthly
                                                                               payment

                 JP CHASE BANK
                 _____________________________________                                   24.50
                                                                                  $____________

                 _____________________________________                        +           0.00
                                                                                  $____________

                                                                                                             Copy                                Repeat this
                                    Total average monthly payment                        25.00
                                                                                  $____________                             ─          25.00
                                                                                                                                $____________    amount on
                                                                                                             here                               line 33b.

                                                                                                                                                Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                            Vehicle 1
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0. .............................                460.00
                                                                                                                                $____________   expense
                                                                                                                                                here .....          460.00
                                                                                                                                                                $_________



       Vehicle 2            Describe Vehicle 2:    _______________________________________________________________
                                                   _______________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard. .................................................                      0.00
                                                                                                                                $____________

       13e.    Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                        Average monthly
                                                                               payment


                 _____________________________________                                       0
                                                                                  $____________



                 _____________________________________                        +              0
                                                                                  $____________


                                                                                                               Copy                              Repeat this
                                     Total average monthly payment                           0
                                                                                  $____________
                                                                                                               here
                                                                                                                            ─ $____________
                                                                                                                                         0       amount on
                                                                                                                                                 line 33c.

                                                                                                                                                Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                            Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0. .....................................
                                                                                                                                        0.00
                                                                                                                                $____________   expense
                                                                                                                                                here ...               0.00
                                                                                                                                                                $________


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                            $________0.00

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                              $________0.00


Official Form 122A–2                                                Chapter 7 Means Test Calculation                                                            page 4
                              Case:18-00302-swd                     Doc #:10 Filed: 02/04/18                  Page 5 of 9
Debtor 1      SABRINA     MICHELE HEDIN
              _______________________________________________________                                                   18 - 00302 - swd
                                                                                                 Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your                          652.00
                                                                                                                                                 $________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
                                                                                                                                                      0.00
                                                                                                                                                 $________
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.                     0.00
                                                                                                                                                 $________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                      0.00
                                                                                                                                                 $________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.
                                                                                                                                                      0.00
                                                                                                                                                 $________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.
                                                                                                                                                      0.00
                                                                                                                                                 $_______


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                                     0.00
                                                                                                                                                 $________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it       +        60.00
                                                                                                                                                 $_______
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                          3,382.00
                                                                                                                                                 $_______
       Add lines 6 through 23.




Official Form 122A–2                                           Chapter 7 Means Test Calculation                                                  page 5
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Debtor 1       SABRINA     MICHELE HEDIN
               _______________________________________________________                                               18 - 00302 - swd
                                                                                              Case number (if known)_____________________________________
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                                 84.00
                                                                 $____________

       Disability insurance                                              0.00
                                                                 $____________

       Health savings account                                +           0.00
                                                                 $____________

       Total                                                            84.00
                                                                 $____________                   Copy total here .....................................            84.00
                                                                                                                                                            $________

       Do you actually spend this total amount?

       ✔
          No. How much do you actually spend?                        150.00
                                                                 $___________
          Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of                              $________0.00
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
       of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                       $________0.00

       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
       8, then fill in the excess amount of home energy costs.
                                                                                                                                                            $________0.00
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $160.42*
       per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
       elementary or secondary school.
                                                                                                                                                            $________0.00
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
       reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are                                         $_______ 0.00
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
       5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
       this form. This chart may also be available at the bankruptcy clerk’s office.
       You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                              + $_______ 0.00
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                                               84.00
                                                                                                                                                            $_______
       Add lines 25 through 31.




Official Form 122A–2                                        Chapter 7 Means Test Calculation                                                                page 6
                                           Case:18-00302-swd                                    Doc #:10 Filed: 02/04/18                                    Page 7 of 9
Debtor 1            SABRINA MICHELE HEDIN
                    _______________________________________________________                                                                                         18 - 00302 - swd
                                                                                                                                             Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                                       Average monthly
                                                                                                                                                       payment
                    Mortgages on your home:

           33a. Copy line 9b here ................................................................................................................                  0.00
                                                                                                                                                           $_____________

                    Loans on your first two vehicles:                                                                             
           33b. Copy line 13b here. ............................................................................................................                  25.00
                                                                                                                                                           $_____________

           33c. Copy line 13e here. ...........................................................................................................                        0
                                                                                                                                                           $_____________

           33d. List other secured debts:

                                                                                                                                   
                      Name of each creditor for other                              Identify property that                        Does payment
                      secured debt                                                 secures the debt                              include taxes
                                                                                                                                 or insurance?


                       _______________________________                             ________________________
                                                                                                                                         No                         0.00
                                                                                                                                                           $____________
                                                                                                                                         Yes


                       _______________________________                             ________________________
                                                                                                                                         No                         0.00
                                                                                                                                                           $____________
                                                                                                                                         Yes

                                                                                                                                         No
                       _______________________________                             ________________________                                            +             0.00
                                                                                                                                                           $____________
                                                                                                                                         Yes

                                                                                                                                                                            Copy total
      33e. Total average monthly payment. Add lines 33a through 33d. ....................................................                                           25.00
                                                                                                                                                           $____________                            25.00
                                                                                                                                                                            here            $_________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

        No. Go to line 35.
       
       ✔ Yes. State any amount that you must pay to a creditor, in addition to the payments
                       listed in line 33, to keep possession of your property (called the cure amount).
                       Next, divide by 60 and fill in the information below.

                        Name of the creditor                         Identify property that                    Total cure                                  Monthly cure
                                                                     secures the debt                          amount                                      amount

                         JP MORGAN BNK
                        _______________________                      2006 CHEVY
                                                                     ____________________                      1,500.00
                                                                                                             $__________               ÷ 60 =                      25.00
                                                                                                                                                           $_____________

                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________

                        _______________________                      ____________________                    $__________               ÷ 60 =          +   $_____________

                                                                                                                                                                            Copy total
                                                                                                                                         Total                     25.00
                                                                                                                                                           $_____________                           25.00
                                                                                                                                                                                             $________
                                                                                                                                                                            here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
       ✔ No. Go to line 36.
       
        Yes. Fill in the total amount of all of these priority claims. Do not include current or
                       ongoing priority claims, such as those you listed in line 19.

                        Total amount of all past-due priority claims .................................................................                     $____________    ÷ 60 =                   0.00
                                                                                                                                                                                             $_________

Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                       page 7
                                          Case:18-00302-swd                                   Doc #:10 Filed: 02/04/18                                        Page 8 of 9
Debtor 1           SABRINA MICHELE HEDIN
                   _______________________________________________________                                                                                       18 - 00302 - swd
                                                                                                                                          Case number (if known)_____________________________________
                   First Name           Middle Name                  Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
        ✔ No. Go to line 37.
        
         Yes. Fill in the following information.
                       Projected monthly plan payment if you were filing under Chapter 13                                                                   $_____________
                       Current multiplier for your district as stated on the list issued by the
                       Administrative Office of the United States Courts (for districts in Alabama and
                       North Carolina) or by the Executive Office for United States Trustees (for all
                       other districts).                                                                                                                x    ______
                       To find a list of district multipliers that includes your district, go online using the
                       link specified in the separate instructions for this form. This list may also be
                       available at the bankruptcy clerk’s office.
                                                                                                                                                                                      Copy total
                       Average monthly administrative expense if you were filing under Chapter 13                                                                    0.00
                                                                                                                                                            $_____________                                    0.00
                                                                                                                                                                                                     $_________
                                                                                                                                                                                      here



   37. Add all of the deductions for debt payment.                                                                                                                                                       25.00
                                                                                                                                                                                                     $_________
       Add lines 33e through 36. ..............................................................................................................................................................


   Total Deductions from Income


   38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS                                                  3,382.00
                                                                                                      $______________
       expense allowances .....................................................................

       Copy line 32, All of the additional expense deductions ..........                                       84.00
                                                                                                      $______________


       Copy line 37, All of the deductions for debt payment .............                          + $______________
                                                                                                              25.00

                                                                     Total deductions                       3,491.00
                                                                                                      $______________                           Copy total here ...............................          3,491.00
                                                                                                                                                                                                     $_________


   Part 3:           Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

         39a.     Copy line 4, adjusted current monthly income .....                                        3,234.00
                                                                                                      $_____________

         39b.     Copy line 38, Total deductions. .........                                       −         3,491.00
                                                                                                      $_____________

         39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                          -257.00                            Copy                       -257.00
                                                                                                      $_____________                                                $____________
                 Subtract line 39b from line 39a.                                                                                               here

                   For the next 60 months (5 years) ...........................................................................................................     x 60

                                                                                                                                                                                             Copy
         39d. Total. Multiply line 39c by 60. ..................................................................................................................      -15,420.00
                                                                                                                                                                    $____________
                                                                                                                                                                                             here     -15,420.00
                                                                                                                                                                                                      $________


   40. Find out whether there is a presumption of abuse. Check the box that applies:

        
        ✔ The line 39d is less than $7,700*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
              to Part 5.

             The line 39d is more than $12,850*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
              may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $7,700*, but not more than $12,850*. Go to line 41.

              * Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.


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        SABRINA MICHELE       HEDIN                            18 - 00302 - swd




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           01/29/2018
